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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



JIMMY HOFFMEYER, as NEXT FRIEND of
J.H., a minor,

                Plaintiffs,
                                                             CASE NO. 1:21-cv-795
v.
                                                             HON. ROBERT J. JONKER
MOUNT PLEASANT PUBLIC SCHOOLS,
et al.,

            Defendants.
__________________________________/


                                             ORDER

         On September 14, 2021, Plaintiff filed a Complaint, which listed the full name of a minor

as a party contrary to the redaction requirement of Fed.R.Civ.P. 5.2(a).

         The Clerk of the Court shall place the Complaint (ECF. No 1) under restricted access. The

Plaintiff shall re-file the Complaint in accordance with Fed.R.Civ.P. 5.2(a).

         IT IS SO ORDERED.




Dated:      September 15, 2021                /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
